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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


Scottsdale Capital Advisors Corp.,et ~rl.
   Plaintiffs,

                 v.                                            Case Nn. 8:16-cv-00860-llKC

Financial Industry Regulatory Authority, Inc.
   Defendant.




                                   ENTRY OF APPCARANC~


TO THE CLERK OF THIS COURT AND ALL PARTIES OF RI;CORll:

        Please enter my appearance as counsel in this case for:

Amicus Securities and Exchange Commission

        I certify that I am admitted to practice in this court as a government attorney for this case

only.

4/25/16
Date                                                   Signature ofCounsel

                                                       Martin Totaro                    805020
                                                       Print Name                       Bar Number

                                                       U.S. Securities &Exchange Commission
                                                       Firm Name

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         Case 8:16-cv-00860-DKC Document 21 Filed 04/25/16 Page 2 of 2


                                CERTIFICATE OF SERVICE

       I hereby certify that on April 25, 2016, I electronically filed the foregoing with the Clerk

of the Court for the United States District Court for the District of Maryland by using the

CM/ECF system. Service on plaintiffs and FINRA was accomplished on the same date through

the CM/ECF system.



                                                     /s/Martin V. Totaro
                                                     Securities and Exchange Commission
                                                     100 F Street, N.E.
                                                     Washington, D.C. 20549
